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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


Robin Outler,                                        Case No. 4:16-cv-00372-ALM

       Plaintiff,

v.                                                      NOTICE OF SETTLEMENT

Southwest Credit Systems, LP

       Defendant.


       Now comes Plaintiff, through counsel, to notify the Court that the parties have reached a

settlement. The parties are currently working on facilitating the settlement. Plaintiff expects to

dismiss this case within sixty days.



                                              RESPECTFULLY SUBMITTED,

                                              Hyslip & Taylor, LLC, LPA

Date: September 14, 2016                      By: s/ David M. Menditto____
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2016, I electronically filed the foregoing Notice.

Service of this filing will be made by the Court’s CM/ECF System upon the following:


Xerxes Martin, Esq.
Malone Akerly Martin PLLC
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Dallas, TX 75231

Counsel for Defendant

                                                            s/ David M. Menditto




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